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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

DELL INC.,                         )
                                   )
            Plaintiff,             )
                                   )
      v.                           )                  Case No. 1:16-cv-00641-SS
                                   )
RAJ MISHRA; TECH FIXING CENTER
                                   )                  The Honorable Sam Sparks
LLC; SAMEER SHAIKH; MANISH DAS;
                                   )
ABDUL KANCHWALA; VISION BPO PVT.
                                   )
LTD.; MS VOIP CONNECTS; TUSHAR
                                   )
BOSE; PRO9 INFOSERVICES PVT. LTD.;
                                   )
GLOBAL VALUE ADD INC.; SUDHIR PAI;
                                   )
GURU DORSALA; and WEBCONNECT
                                   )
LLC,
                                   )
            Defendants.            )
                                   )


       JOINT REPORT REGARDING ALTERNATIVE DISPUTE RESOLUTION

        Pursuant to the Court’s Scheduling Order (Dkt. No. 84) and Local Rule CV-88 for the

 United States District Court for the Western District of Texas, Plaintiff Dell Inc. (“Dell”) and

 Defendants Global Value Add Inc., Sudhir Pai, and Guru Dorsala (the “GVA Defendants”)

 jointly submit the following report on alternative dispute resolution:

       1.       Dell and the GVA Defendants have exchanged settlement positions. To date,

settlement discussions have not resulted in an amicable resolution.

       2.       The person responsible for settlement negotiations on behalf of Dell is Kimball

R. Anderson.

       3.       The person responsible for settlement negotiations on behalf of the GVA

Defendants is Ryan A. Botkin.

       4.       All other parties who have been served with a summons and a copy of the

complaint are in default (Dkt. Nos. 35, 81).
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       5.       The parties have not come to an agreement concerning whether alternative

dispute resolution methods would be productive at this time in light of the fact that several

defendants whom Dell seeks to hold jointly and severally liable with the GVA Defendants are

unavailable to participate in any alternative dispute resolution procedure.

DATED:         January 31, 2018            Respectfully submitted,



                                           /s/   Kimball R. Anderson
                                           Kimball R. Anderson (admitted pro hac vice)
                                           Robert H. Newman (admitted pro hac vice)
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                                           /s/   Sinéad O’Carroll
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                                           Counsel for Plaintiff Dell Inc.




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                           /s/   Ryan A. Botkin
                           Ryan A. Botkin
                           Texas State Bar No. 00793366
                           Katherine Chiarello
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                           Counsel for Defendants Global Value Add, Inc.,
                           Sudhir Pai, and Guru Dorsala




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 31st day of January 2018, I caused a true and correct copy of

the foregoing Joint Report Regarding Alternative Dispute Resolution to be filed with the Court’s

CM/ECF system and thus served on all parties with counsel of record, and that Defendant Tech

Fixing Center LLC was served by placing the foregoing in the U.S. mail, First Class postage

prepaid, to its last known address:

       Tech Fixing Center, LLC
       710 East Main Street
       Lexington, Kentucky 40502:


                                                    /s/ Sinéad O’Carroll
                                                    Sinéad O’Carroll




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